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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
      LAMONT GILLON,                        ) Case No. 2:20-cv-04960-DOC (JDE)
12                                          )
                                            )
13                      Petitioner,         ) JUDGMENT
                                            )
14                                          )
                        v.                  )
15                                          )
                                            )
16    M. ATCHLEY, Warden,                   )
                                            )
17                                          )
                        Respondent.         )
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19
            Pursuant to the Order Accepting Findings and Recommendation of the
20
      United States Magistrate Judge,
21
            IT IS ADJUDGED that the operative Petition is denied and this action
22
      is dismissed with prejudice.
23
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25           $SULO
      Dated: __________________                _____________________________
                                               DAVID O. CARTER
26
                                               United States District Judge
27
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